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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


MOLLY ANN MAHANY,

                                  Plaintiff,

                                                             DECISION AND ORDER
             v.                                                14-CV-693A

THE POLICE DEPARTMENT FOR THE CITY
OF BUFFALO, STATE OF NEW YORK
              and
THE DISTRICT ATTORNEY’S OFFICE FOR
THE COUNTY OF ERIE, STATE OF NEW YORK,


                                  Defendants.


      This case was referred to Magistrate Judge H. Kenneth Schroeder, Jr., pursuant

to 28 U.S.C. § 636(b)(1)(B). On January 9, 2018, Magistrate Judge Schroeder filed a

Report and Recommendation (Dkt. No. 55), recommending that Plaintiff’s motions to

vacate prior judgments (Dkt. No. 3) and to amend her complaint (Dkt. No. 38) be

denied. Magistrate Judge Schroeder further recommended that Defendant Buffalo

Police Department’s motion to dismiss and for judgment on the pleadings (Dkt. No. 27)

be granted, and that Defendant Erie County District Attorney Office’s motion to dismiss

and for judgment on the pleadings (Dkt. No. 31) also be granted.

      Plaintiff filed objections to the Report and Recommendation (Dkt. No. 56). Both

Defendants dispute whether Plaintiff has filed proper objections. See Fed. R. Civ. P.

72(b); L. Civ. R. 72(b) & 72(c). The Court, however, need not resolve this dispute.

Even if Plaintiff properly objected to Magistrate Judge Schroeder’s Report and

Recommendation – which would require the Court to conduct a de novo review of those
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portions of the Report and Recommendation to which objections have been made – the

Court would adopt the Report and Recommendation in its entirety. Thus, it is hereby

      ORDERED, that pursuant to 28 U.S.C. § 636(b)(1), and for the reasons set forth

in Magistrate Judge Schroeder’s Report and Recommendation, Plaintiff’s motions to

vacate prior judgments and to amend her complaint are denied. It is further ordered

that Defendant Buffalo Police Department’s motion to dismiss and for judgment on the

pleadings is granted, and that Defendant Erie County District Attorney Office’s motion

to dismiss and for judgment on the pleadings is also granted.

      The Clerk of Court shall take all steps necessary to close the case.

      IT IS SO ORDERED.

                                        ____Richard J. Arcara____________
                                        HONORABLE RICHARD J. ARCARA
                                        UNITED STATES DISTRICT COURT

Dated: April 12, 2018
